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                                                                       10 IN CHAMBERS
                                                                                                         U.S.D.C ATLANTA
                                                                                                       Sep 30 2021
                                                                                                 Date: _________________________
                                      United States District Court
                                      NORTHERN DISTRICT OF GEORGIA                               KEVIN P. WEIMER , Clerk
                                                                                                     s/Christopher Boundy
                                                                                                 By: ____________________________
  UNITED STATES OF AMERICA                                                                                 Deputy Clerk
  v.                                                                    CRIMINAL COMPLAINT
                                                                        Case Number: 1:21-MJ-921
  Rodolfo Hernandez Espinoza


I, the undersigned complainant, depose and say under penalty of perjury that the following is true and
correct to the best of my knowledge and belief.

 On or about September 29, 2021, in Clayton County, in the Northern District of Georgia, defendant did,
knowingly and intentionally possess with intent to distribute a controlled substance, said act involving at
least 500 grams of a mixture and substance containing a detectable amount of methamphetamine, a
Schedule II controlled substance, in violation of Title 21, United States Code, Section(s) 841(a)(1) and
841(b)(1)(A).

I further state that I am a Task Force Officer with the Drug Enforcement Administration and that this
complaint is based on the following facts:
PLEASE SEE ATTACHED AFFIDAVIT
Continued on the attached sheet and made a part hereof.         Yes




                                                          Signature of Complainant
                                                          TFO Michael Hannan



Based upon this complaint, this Court finds that there is probable cause to believe that an offense has
been committed and that the defendant has committed it.

 September 30, 2021        at 11:30 AM                     at    Atlanta, Georgia
 Date                                                            City and State



 ALAN J. BAVERMAN
 UNITED STATES MAGISTRATE JUDGE
 Name and Title of Judicial Officer                              Signature of Judicial Officer

                                                                 Sworn to me by telephone pursuant to Federal
 SAUSA Rachel S. Lyons / Rachel.Lyons@usdoj.gov / (770)          Rule of Criminal Procedure 4.1
 490-8772
                                                                                  ATTEST: A TRUE COPY
                                                                                     CERTIFIED THIS

                                                                          Date: Sep  30 2021
                                                                                ________________________

                                                                         KEVIN P. WEIMER, Clerk

                                                                            s/Christopher Boundy
                                                                        By: ____________________________
                                                                                 Deputy Clerk
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                  AFFIDAVIT IN SUPPORT OF COMPLAINT

    I, Michael Hannan, a Task Force Officer (“TFO”) with the Drug Enforcement

Administration (“DEA”), United States Department of Justice, depose and state

under penalty of perjury that the following is true and correct to the best of my

knowledge, information and belief:

   A. Introduction

   1. I am an “investigative or law enforcement officer of the United States”

within the meaning of Title 18, United States Code, Section 2510(7), that is, an

officer of the United States who is empowered by law to conduct investigations

and to make arrests for offenses enumerated in Title 18, United States Code,

Section 2516.

   2. By this affidavit, I submit that probable cause exists to believe that Rodolfo

Hernandez Espinoza (“ESPINOZA”) committed a narcotics offense by

knowingly and intentionally possessing with intent to distribute a controlled

substance, said act involving at least 500 grams of a mixture and substance

containing a detectable amount of methamphetamine, a Schedule II controlled

substance, in violation of Title 21, United States Code, Sections 841(a)(1) and

841(b)(1)(A).

   B. Training and Experience

   3. I am a Task Force Officer with the DEA assigned to the Atlanta High

Intensity Drug Trafficking Area (HIDTA) Task Force and have been since 2002. I

am also a Deputy Sheriff with the Fulton County Sheriff's Office (FCSO) and

have been so employed since November 2009 as an Investigator in the Criminal



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Investigations Unit. Prior to my employment with the FCSO, I was employed
with the Fulton County Police Department (FCPD) for approximately 17 years

(beginning in 1993) with the last nine years as a Detective assigned to the

Narcotics Unit.

      4. As a Task Force Officer with HIDTA, I investigate criminal violations of

federal and state drug laws and related offenses. I have received training, both

formal and informal, in the enforcement of drug laws, investigation of drug

trafficking and money laundering organizations, drug recognition and

terminology, undercover operations, interviewing techniques, financial/money

laundering investigations, and the use of electronic surveillance.

      5. Further, I have participated in dozens of federal and state wire

investigations that resulted in arrests and seizures concerning drug trafficking

and money laundering. During these investigations, I have observed drug
traffickers using telephones and other electronic devices in furtherance of their

illegal activities. I have analyzed telephone toll records and other records and

debriefed informants regarding the use of telephones, electronic messaging

applications, and electronic storage devices.

      6. Based on my training and experience, participation in criminal

investigations, and the training and experience of other officers and agents with

whom I am working, I know that:

      a. Many cellular telephones, computers, tablets, smart watches, and

         electronic storage media including hard drives and thumb drives
         (collectively, “electronic devices”) currently have advanced capabilities,




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   including: internet browsing, text and e-mail, photography and video
   storage, notes, calendars, and data file storage.

b. Drug traffickers and money launderers frequently use electronic

   devices and keep a list of names and numbers of customers, suppliers,
   and coconspirators. Cell phones, tablets, and other electronic devices

   will also carry information in a SIM (Subscriber Identity Module) or SD

   (Secure Digital memory) card, or some other type of electronic storage
   card or drive, which will reveal that information along with the cell

   phone number assigned to the device and other information indicating

   the identity of the user.

c. Drug traffickers and money launderers use electronic devices to

   communicate with each other via voice, direct connect, text message,

   and e-mail; store valuable data such as names, addresses, and
   telephone numbers of co-conspirators; obtain and store addresses,

   directions, and maps; maintain photographs of criminal associates;

   search the internet; and capture audio, image, and video files. Records

   of these activities are often stored in the memory of electronic devices.

d. Furthermore, I know that it is common for drug traffickers and money

   launderers to possess and use multiple electronic devices to facilitate

   their unlawful conduct. Indeed, it is my experience that they

   purposefully use multiple communication devices so as to not alert law

   enforcement of the complete scope of their own and/or their

   organization’s illicit conduct, in the event that their communications are

   being intercepted. By way of example only, a drug trafficker or and




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         money launderer may have one cellular telephone used to call their
         drug source of supply, another telephone used to call customers, and

         yet another to call drug distributors, in addition to a telephone for

         personal use.
      e. Additionally, they may also use a tablet computer for email and text

         messaging with coconspirators and financial institutions; they may use

         a laptop to store spreadsheets with information about assets and create
         or alter documents like bank statements, property deeds, or proof of

         identification; and they may use removable electronic storage media to

         back up important documents and communications regarding their

         criminal activities.

      f. In short, electronic devices are vital instruments to drug traffickers and

         may contain many different types of significant evidence of their

         criminal activities.

      7. Based on my training and experience in the investigation of drug

traffickers and money launderers, and the training and experience of other
officers and agents with whom I am working, and based upon interviews I have

conducted with defendants, informants, and other witnesses to, and participants

in, drug trafficking activity, I am familiar with the ways in which drug traffickers

and money launderers conduct their business, including the ways that drug

traffickers maintain records and documents relating to their drug trafficking and

the ways that they conceal, convert, transmit, and transport their drug proceeds.

I also know that:




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a. Narcotic traffickers often purchase or maintain residences, businesses, real
   estate, and real property to disguise or launder their illegal proceeds from

   narcotic trafficking. Records pertaining to the ownership, control, and

   acquisition of these properties are usually kept and maintained to provide
   an appearance of legitimacy. Narcotic traffickers often place their assets in

   names other than their own – sometimes in the names of close family

   members – to avoid detection of these assets by government agencies.
   However, even though their assets are in other persons’ names, narcotic

   traffickers own and continue to use these assets and exercise dominion and

   control over them.

b. Narcotics traffickers and money launderers often maintain copies of books,

   records, notes, ledgers, airline tickets, money orders, deposit slips, bank

   account numbers, and other papers relative to the transportation, ordering,
   sale, and distribution of controlled substances and proceeds thereof.

c. Narcotics traffickers occasionally “front” (provide on consignment)

   narcotics to their clients. Books, records, receipts, notes, ledgers, etc. (some

   being coded and cryptic in nature), are maintained to keep track of these

   arrangements, and are often kept where the narcotic traffickers have ready

   access to them, but are concealed in secure locations within, or in near
   proximity to, their residences, businesses, vehicles, and electronic devices

   in a way to make discovery by law enforcement authorities difficult.

d. Narcotic traffickers and money launderers commonly keep records of

   codes, as well as residential addresses, e-mail addresses, telephone




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        numbers, and/or encrypted names of their associates in the trafficking
        organization.

    e. Narcotic traffickers and money launderers often utilize cellular telephones,

        computers, electronic storage devices, etc., to facilitate communication

        with conspirators, store telephone numbers/addresses of associates, and

        store other records relating to their narcotics trafficking and money

        laundering activities.

    C. Probable Cause

    8. In late August 2021, agents with the Atlanta-Carolinas HIDTA Task Force

received information from a Cooperating Source (CS) regarding individuals who

were distributing multi-kilogram quantities of methamphetamine from motels in

Clayton and Henry Counties. 1 On September 20, 2021, HIDTA Task Force

Officer (TFO) Mike Hannan identified one of the suspected drug traffickers as

Rodolfo Hernandez ESPINOZA. ESPINOZA was observed by agents on

multiple occasions over the past several weeks driving a white Honda Odyssey

minivan registered to “Rodolfo Hernandez Espinoza” at “945 Illges Rd,
Columbus, GA.” Agents also observed at least three unknown individuals arrive

at motel rooms being utilized by ESPINOZA and/or his associate, stay in the


1 The CS has a lengthy criminal history including drug distribution charges and aggravated assault. The

CS was initially debriefed by HIDTA agents regarding his knowledge of drug trafficking organizations in
the metro-Atlanta area. He/she hoped to receive consideration on pending drug charges in Rabun
County. The CS provided information to agents which helped identify methamphetamine distribution
locations, as well as sources of supply. After the initial debriefing, agents learned that the CS had active
arrest warrants for probation violations in Hall and Rabun Counties. Agents determined at that time not
to solicit further information from the CS until his probation violation was resolved, however, the CS
continued to provide unsolicited information. I have been able to verify the information provided by the
CS and found it to be reliable.




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room only a short period of time, and leave carrying a package. Based on this
activity, and agents’ training and experience, I believe these individuals were

drug customers of ESPINOZA.

   9. On September 28, 2021, agents conducted a spot check at the Quality Inn
located at 7325 Davidson Pkwy, Stockbridge, GA, which is one of the motels that

ESPINOZA and his associate were believed to utilize to conduct their drug

business. While at the Quality Inn, TFO Hannan observed ESPINOZA’s Honda
Odyssey minivan parked in the parking lot near room #111. TFO Robert Slover

arrived and maintained surveillance on the vehicle. He observed ESPINOZA

exit room #111, get into the driver’s seat of the minivan, depart the motel and

drive to a BP gas station in Morrow, GA. ESPINOZA remained in the BP for a

short period of time before surveillance was terminated.

   10. On the morning of September 29, 2021, HIDTA agents again established
surveillance at the same Quality Inn at 7325 Davidson Pkwy, Stockbridge.

ESPINOZA’s Honda minivan was observed parked near room #111. Agents

observed ESPINOZA leave the room carrying multiple suitcases and duffle bags

which he loaded into the back of the minivan. ESPINOZA departed the Quality

Inn and drove directly to another Quality Inn located at 6597 Jonesboro Rd,

Morrow, GA. Agents observed ESPINOZA retrieve the suitcases and duffle bags
from his minivan and enter room #214. Not long after, agents observed a black

Toyota Camry driven by a white male arrive at the Quality Inn. A white female,

carrying a large purse, got out of the front passenger seat of the Camry, walked
toward the motel, and went into room #214. A few minutes later, the female

exited room #214 and got back into the passenger seat of the Camry. The Camry



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then departed the motel, followed by HIDTA agents; other HIDTA agents

maintained surveillance on ESPINOZA’s motel room.

    11. After making a stop at a nearby Shell gas station, the Camry got onto I-75

south. Georgia State Patrol Trooper Munoz conducted a traffic stop. The female
occupant, who was also the vehicle’s co-owner, provided written consent to

search the vehicle. During the search, a quantity of methamphetamine and three

handguns were located in the vehicle. The male driver and female passenger
were arrested on drug and weapons charges and transported to the Henry

County Jail.

    12. During the time that the traffic stop was being conducted on the Camry,

agents at the Quality Inn observed ESPINOZA leave room #214, get into his

minivan, and depart the motel parking lot. Agents maintained surveillance at

the motel and did not follow ESPINOZA. After approximately 40 minutes,
ESPINOZA arrived back at the Quality Inn. 2 As the minivan drove around the

lot, agents blocked the car using undercover vehicles, asked ESPINOZA to get

out of the car, and placed him in handcuffs. Immediately after being detained,
ESPINOZA expressed an interest in speaking with the agents. Approximately 15

minutes later, TFO Juan Lopez-Martinez arrived and read ESPINOZA his

Miranda rights in Spanish. ESPINOZA stated that he understood his rights and

agreed to answer questions without an attorney present.

    13. ESPINOZA told the agents that he had approximately 15 kilograms of

methamphetamine in his motel room (#214). He gave written consent to search


2By this time, agents had located the methamphetamine and handguns in the Camry during the traffic
stop.



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room #214 and his minivan. Agents subsequently conducted a search of the
room and located two suitcases containing approximately 12.5 kilograms of

suspected methamphetamine, 3 a 9mm handgun, an undetermined amount of

U.S. Currency, and a drug ledger containing detailed information regarding drug
transactions. Later, ESPINOZA told TFO Lopez-Martinez that he had sold

approximately 200 kilograms of methamphetamine in the Atlanta area since July

2021.

                                          END OF AFFIDAVIT




3   The substance field-tested positive for methamphetamine. Forensic analysis is pending.



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